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COMMONWEALTH OF KENTUCKY
BOONE CIRCUIT COURT
DIVISION I
CASE NO. 21-CI-00836

KENTUCKY HEMP ASSOCIATION, et al., PLAINTIFFS
VS.
RYAN QUARLES, /n His Official Capacity
As Kentucky Commissioner of Agriculture, et al., DEFENDANTS
ORDER

This matter is before the Court on Plaintiffs’ Motion for Temporary Injunction,
concerning which the Court conducted an evidentiary hearing on December 16, 2021. Hon.
Christopher D. Wiest and Hon. Thomas Bruns appeared for Plaintiffs. Hon. Olivia F. Amlung
and Hon. Marc Manley appeared for Kentucky Commissioner of Agriculture Ryan Quarles; and
Hon. Lauren Lewis and Hon. Samantha Bevins appeared for Commissioner of the Kentucky
State Police, Phillip Burnett, Jr. At the hearing, Plaintiff presented testimony from Mitchell Tate
Hall, Vice President and prior President of the Kentucky Hemp Association, Doris Hamilton, the
party representative for the Kentucky Department of Agriculture (as if on cross-examination),
Rose Seeger, owner of Ky Hemp Girl, LLC, and Dr. Lewis Jackson, Ph.D. Commissioner
Quarles presented testimony from Eric Wang, chief executive officer of a company relating to
hemp, Dr. Christopher Hudalla, Dr. Peter Akpunonu, Jennifer Padgett, and Sgt. Chris Weber,
with the Boone County Sheriffs Department and Northern Kentucky Drug Strike Force.

HISTORICAL BACKGROUND
The history of hemp production is not only a fascinating tale, one that predates the

founding of our country, but also one in which Kentucky has played a significant part. Prior to

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colonialization, Native Americans raised hemp for many uses, including clothing and food.!
Settlers at Jamestown grew hemp in the early-1600s, and hemp farming continued throughout the
development of the colonies to become a vital commodity for not only North America but
England as well.” In addition to other uses, including enduring parchment, nothing compared
with the durability of hemp fibers for making sails, cords and rope. Hemp became so integral for
Britain’s navy that colonial farmers were required to farm it. For example, more than 120,000
pounds of hemp was needed to rig the 44-gun USS Constitution, not including that required for
canvas and sails.* And, reportedly, Thomas Jefferson wrote the first drafts of the Declaration of
Independence on paper made from hemp.°
Following the Revolutionary War and until the late 1800s, most of the hemp produced in
America was grown by Kentucky farmers.° But as steam ships gained ascendency on the seas,
demand for hemp decreased.” By World War I, Kentucky was the only state raising or producing
hemp of any significance, and the nation’s primary producer of hemp seed.®
Hemp is from the cannabis family of plants as is marijuana.” Variations within the

cannabis family of plants have different characteristics, much like there are differences between

apple varieties.!° The stalks of cannabis plants contain fiber valuable for production of a wide

1 Kenneth Titus and Stephanie Murray, Industrial Hemp, Journal of the Kansas Bar Association, 90-APR J. Kan.
B.A. 24, 25 (March/April, 2021).
2 Id., citing Oscar H. Will III, The Forgotten History of Hemp Cultivation in America, FARM COLLECTOR (Nov.
2004), https://www.farmcollector.com/farm-life/strategic-fibers.
3 Michelle R.E. Donovan, Jason Canvasser and Danielle M. Hazeltine, The Evolving CBD and Hemp Market,
Michigan Bar Journal, 100-JUN Mich. B.J. 38, 39 (June, 2021), citing, Will, The Forgotten History
of Hemp Cultivation in America, Farm Collector < https://www.farmcollector.com/farm-life/strategic-fibers/>.
4 Id.
5 Vanessa Rogers The Future of Hemp in Kentucky, 4 Ky. J. Equine, Agric. & Nat. Resources L. 479, 480 (2012).
§ Oscar H. Will, supra, note 2.
7 Id.
3 Id.
2 Donovan, ef al., 100-JUN Mich. B.J., at 39.
0 Ig.
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range of materials, including paper, rope, canvas, building materials and cosmetics.!'! The plant
also contains flowers, seeds and oil, concerning which many extol as providing health benefits
and affording natural relief from adverse medical conditions.'* Cannabis contains cannabinoids
in quantities that vary depending upon the specific variety of cannabis plant. And cannabinoids
are comprised of hundreds of natural compounds.'? Among these are tetrahydrocannabinol
(“THC”), the component having psychoactive properties that can produce feelings of euphoria or
a “high,” and cannabidiol (“CBD”), which is popular for treating pain, anxiety and other
disorders, including neurological diseases. '4

The federal government began discouraging hemp production beginning with the 1937
Marihuana Tax Act, which taxed the sale of all forms of cannabis. Except for a brief interlude
during World War II involving the “Hemp for Victory” campaign, punitive taxation and
availability of synthetic fiber stifled the production of hemp. In 1970, Congress passed the
Controlled Substances Act, making all cannabis a Schedule I illegal drug—the same designation
as narcotics like heroin. Consequently, even hemp production or possession became illegal
under federal law.!> Proponents of hemp have long fought its antagonists to reverse this. That
battle still rages.
Proponents of hemp gained ground with the Agricultural Act of 2014 and, later, the

Hemp Farming Act of 2018, which removed hemp from the Controlled Substances Act and
allows hemp to be farmed agriculturally. Congress did this by codifying an exemption for

industrial hemp, under which cannabis plants may not contain more than 0.3 percent of delta-9-

THC (“Delta-9”). Kentucky, which had lost significant agriculture following tobacco’s fall from

4 Titus, et al., 90-APR J. Kan. B.A., at 25.
2 Id.
13 Donovan, ef al., 100-JUN Mich. B.J., at 39.
V4 Id.
45 Titus, et al., 90-APR J. Kan. B.A., at 25.
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grace, was at the forefront of this development and the General Assembly enacted statutes
tracking the federal exemption for hemp. Following the exemption, various products have been
produced from hemp, including CBD oil. Through further processing, a form of THC identified
as delta-8 (“‘Delta-8”) can be derived from CBD. According to testimony, products containing
Delta-8 are in demand.

On April 19, 2021, the Kentucky Department of Agriculture issued a letter stating Delta-
8 is a Schedule I controlled substance, thus illegal, and warned that any manufacturing or
distribution of products containing Delta-8 could result in hemp license revocation and criminal
prosecution. Plaintiffs point to subsequent criminal enforcement actions by the Kentucky State
Police, including raids and arrests, relating to distribution of Delta-8.
ARGUMENTS PRESENTED
Plaintiffs insist that Delta-8 is a derivative of hemp and, therefore, not a controlled

substance but exempt. For this premise, Plaintiffs reference the statutory exemption of hemp in
7 U.S.C. § 16390, and also K.R.S. 260.850. Plaintiffs insist that, because the actions of
Defendants are contrary to these statutes, they are acting unlawfully and violating their rights.
As to Commissioner Quarles, Plaintiffs argue that he has threatened licensees with revocation of
their license and criminal prosecution for engaging in lawful production of Delta-8. Further, at
the hearing, they show that police relied upon the April 19, 2021 letter by the Kentucky
Department of Agriculture in an affidavit in order to secure a search warrant. And, with regard
to the Kentucky State Police, Plaintiffs point to the raids and arrests relating to the same.
Plaintiffs argue that, because the production and distribution of Delta-8 by licensees is a lawful

activity, Defendants’ actions are or will cause irreparable harm and, thus, should be temporarily

enjoined pending final decision on the merits.

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In response, Defendant Burnett, Commissioner of the Kentucky State Police, argues that
Delta-8 is not exempt under the hemp legislation. For this premise, he points to a chart on the
Website of the United States Drug Enforcement Agency (“DEA”) where it identifies Delta-8 as
being another name for THC, a Schedule I controlled substance. He also references a health
advisory published by the Centers for Disease Control warning against the use of products
containing Delta-8. Additionally, Commissioner Burnett argues that injunctive relief would be
improper on other grounds, namely, because the only harm to Plaintiffs is monetary, that there
already has been sufficient delay in Plaintiffs’ case to undermine their claims of immediate or
imminent irreparable harm, and that equity supports denying injunctive relief because of the
public’s interest that the criminal statutes be enforced.

Defendant Quarles responds that the Kentucky Department of Agriculture neither
enforces the criminal laws nor regulates Delta-8, and that the April 19, 2021 letter was merely
offered guidance. Consequently, he argues, an injunction would be inappropriate as to either
him or his Department. Defendant Quarles initially incorporated'® arguments from his motion to
dismiss, namely, that the harms Plaintiffs alleged to be threatened could be challenged in
criminal enforcement proceedings, that hemp license revocation could be challenged through an
administrative hearing process, that Plaintiffs failed to allege sufficient injury or controversy and,
thus, they lack standing.

Commissioner Quarles also argues that the question is more complicated than the
statutory exemption language appears. Defendant Quarles explains that, although the THC in

Delta-8 results in a milder high than Delta-9 THC, it is otherwise similar. According to

16 However, Commissioner Quarles withdrew his motion to dismiss that, prior to that withdrawal, sought
incorporation of the arguments therein by reference. In his notice of withdrawal, Commissioner Quarles indicates
the intention to litigate the issues to preserve “the integrity and future prospects” of the hemp program from the
dangers of “court-sanctioned” Delta-8.

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Defendant Quarles, Delta-8 should be considered more of a synthetic creation than a derivative
of hemp. Accordingly, he indicates it is otherwise prohibited under K.R.S. Chapter 218A.
Further, Quarles contends that because Plaintiffs’ loss from complying would be merely
monetary, it cannot constitute irreparable harm. Nor, he argues, would an injunction be
equitable. As to this he asserts that, “[u]nlike its commonly known counterpart, Delta-8 THC is
largely unregulated by federal and Kentucky law,” thus, a “court order prospectively blessing the
sale of unregulated, untested, and psychoactive drugs to the public, including children, is not in
the public interest.”!’

In Reply to Commissioner Burnett, Plaintiffs argue that statements on the DEA’s Website
cannot supersede the law and, in support, point to the DEA’s official promulgations in the
Federal Register, at 21 CFR 1308.11(31)(ii), that: “(ii) Tetrahydrocannabinols does not include
any material, compound, mixture, or preparation that falls within the definition of hemp set forth
in 7 U.S.C. 16390.” Contra the argument concerning delay in filing, Plaintiffs explain that they
did not file until actual enforcement actions began, such as raids and arrests. Additionally,
Plaintiffs assert that Defendant should not be heard to complain that Plaintiffs waited until
parties were served and attorneys entered appearances before moving for injunctive relief.

As to Defendants’ argument that monetary loss cannot equate to irreparable harm,
Plaintiffs point to various federal precedent stating that, because government actors are typically
immune from liability for monetary damages, those losses are irreparable. Contra Quarles’
arguments, pointing to the April 19, 2021 letter, Plaintiffs point out that the Department has

statutory authority to revoke or suspend licenses, and that he has expressly threatened to do so

over the very issue in dispute. Further, Plaintiffs point to statutes and precedent to support its

17 Commissioner Quarles’ Resp., pp. 15-16.

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position that the controversy here meets standing requirements and, more specifically, grounds
for injunctive relief. According to Plaintiffs, the statutory exemption enacted by both the United
States Congress, and the Kentucky General Assembly, is clear. Thus, Plaintiffs insist, Delta-8 is
exempt and the actions by an agency (or individual officers thereof) to punish licensees for
producing it, and raids and arrests of citizens by the Commonwealth’s police on those grounds,
violates the Kentucky and United States Constitution, thereby constituting irreparable harm.
ANALYSIS
CR 65.04(1) provides the standard the Court is to apply on a Motion for injunctive relief:
A temporary injunction may be granted during the pendency of an action on
motion if it is clearly shown by verified complaint, affidavit, or other
evidence that the movant’s rights are being or will be violated by an adverse
party and the movant will suffer immediate and irreparable injury, loss, or
damage pending a final judgment in the action, or the acts of the adverse party
will tend to render such final judgment ineffectual.

The purpose of this rule “‘is to insure that the injunction issues only where absolutely
necessary to preserve a party’s rights pending the trial of the merits.” Maupin v. Stansbury, 575
S.W.2d 695, 698 (Ky. App. 1978). In Maupin, the Kentucky Court of Appeals established a
three-part test for issuance of a temporary injunction. First, Plaintiff must show that, without the
temporary injunction, he will suffer immediate and irreparable injury to his rights pending trial.
Id. at 699. Second, the Court must weigh any equities that may be involved. Jd. Third, the Court
should determine whether a substantial question on the merits has been shown. Jd. “If the party
requesting relief has shown a probability of irreparable injury, presented a substantial question as
to the merits, and the equities are in favor of issuance, the temporary injunction should be

awarded.” /d. If one or more of these criteria are not satisfied, the temporary injunction should

be denied. Sturgeon Min. Co., Inc. v. Whymore Coal Co., Inc., 892 S.W.2d 591 (Ky. 1995).

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Among Plaintiffs are the Kentucky Hemp Association, whose members are comprised of
licensees under Kentucky’s hemp program administrated by the Kentucky Department of
Agriculture. Plaintiffs also include a hemp producer licensed under that program, and a retailer
who is neither a producer nor licensed as such. The evidence entered at the hearing
demonstrates—and Defendants do not dispute—that the Kentucky State Police has conducted
raids and arrests in Kentucky to prevent distribution of products containing Delta-8. What is in
dispute is whether that constitutes irreparable harm. The answer to that question turns, first and
foremost, upon whether the raids and arrests are performed according to law. And that answer,
in the main, largely centers upon whether Delta-8 is prohibited or exempted under the statutes at
issue. If prohibited by law, then no further analysis is needed.

The evidence further demonstrates—concerning which there is also no dispute—that the
prohibition of products containing Delta-8 results in economic loss to those who farm, produce
and sell it. It is further uncontested that Delta-8 is sold at retail in the states surrounding
Kentucky, including Indiana, Tennessee, West Virginia, and Ohio. Plaintiffs also demonstrated
at the hearing that law enforcement agents relied upon the April 19, 2021 letter from the
Kentucky Department of Agriculture in an affidavit to show the criminality of Delta-8 to obtain
search warrant(s).!® Again, the dispute is whether there are grounds for injunctive relief. And,
again, that answer first depends upon the legality of the prohibition. Consequently, in actions

where, as here, the central issue is the constitutionality of government action, the third element of

the Maupin test becomes the threshold question.

18 Plaintiff's Hearing Exh. No. 7.
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A. Substantial Question on Merits
In the Hemp Farming Act, part of the Farm Bill enacted in 2018, Congress exempted
hemp from the Controlled Substances Act. In doing so, Congress defined hemp as follows:
The term “hemp” means the plant Cannabis sativa L. and any part of that
plant, including the seeds thereof and all derivatives, extracts, cannabinoids,
isomers, acids, salts, and salts of isomers, whether growing or not, with a
delta-9 tetrahydrocannabinol concentration of not more than 0.3 percent on a
dry weight basis.”
Kentucky, through its General Assembly, enacted statutes exempting hemp with a
definition using nearly identical language. KRS 260.850 provides, in relevant part, as follows:
(5) “Hemp” or “industrial hemp” means the plant Cannabis sativa L. and any
part of that plant, including the seeds thereof and all derivatives, extracts,
cannabinoids, isomers, acids, salts, and salts of isomers, whether growing or
not, with a delta-9 tetrahydrocannabinol concentration of not more than three-

tenths of one percent (0.3%) on a dry weight basis;

(6) “Hemp products” or “industrial hemp products” means products derived
from, or made by, processing hemp plants or plant parts; ....

At the hearing, Dr. Lewis Jackson testified as an expert for Plaintiffs. Dr. Jackson holds
a B.A. and Ph.D. in Chemistry and has experience in the cannabis industry. Dr. Jackson
explained the process involved in producing Delta-8. The process of extraction, he explained, is
performed through chemical reactions. He testified that the first step in producing Delta-8 is to
extract CBD. This is done by separating the flower, drying it, grinding it and applying an
organic solvent (such as oil) to solubilize the cannabinoids for extraction from the plant material.
Then, from resulting CBD, whether as a crude extract or isolate, the CBD is solubilized again
with what he termed a friendly organic solvent to liquify the material and induce further

reactions to derive or extract Delta-8. Dr. Jackson testified that the resulting Delta-8 is a

97 U.S.C. 16390(1).
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derivative of CBD, which is a derivative of hemp. Dr. Jackson testified that Delta-8 is not Delta-
9 and that, in fact, Delta-8 can contain concentrations of Delta~-9 THC. The concentrations may
be greater or less than 0.3% Delta-9 THC, which is what determines whether it is exempt under
the statute.

Defendant Quarles argues that Delta-8 should not be deemed a derivative of hemp but a
synthetic creation from chemical processes that is otherwise prohibited under KRS Chapter
218A. The first problem with this argument, however, is that the statutory prohibitions of
synthetic marijuana were repealed—perhaps in conjunction with the legalization of hemp.

The next issue with this argument is the text of the hemp statutes itself, which exempts
hemp from “the plant Cannabis sativa L. and any part of that plant, including the seeds thereof
and all derivatives, extracts, cannabinoids, isomers, acids, salts, and salts of isomers, whether
growing or not, with a delta-9 tetrahydrocamnabinol concentration of not more than three-tenths
of one percent ....”?° And, further, KRS 260.858(1) provides that: “Notwithstanding any other
provision of law to the contrary, it is lawful for a licensee, or his or her agent, to cultivate,
handle, or process hemp or hemp products in the Commonwealth.””' Clearly, the definition of
hemp includes derivatives, extracts and isomers.

As the evidence shows, the extraction of derivatives, and the isolation of isomers, involve
chemical processes. However, the statute exempts “all derivatives, extracts, cannabinoids,
isomers” so long as it contains less than three percent Delta-9 THC on a dry weight basis.

The Court agrees with Commissioner Quarles that it is not the province of this Court to

establish policy, or to make, change or repeal law. That is solely the role of the legislative

branch. Courts adjudicate based upon the law. Thus, if only natural hemp (unadulterated by any

20 Emphasis added.
21 Emphasis added.
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chemical) is worthy of exemption, then Congress, and the General Assembly, could have made
their statutes say so. They did not. Likewise, if the extraction or production of derivatives using
non-hemp solvents should have remained a controlled substance, then the legislators could have,
by statute, said so. They did not. Nor did the legislative body choose to limit Delta-8
concentrations as it did with Delta-9. Again, they could have but did not. Courts “cannot
question the wisdom or policy of the general assembly” but, rather, “must follow the plain
provisions of its enactment... .” Boyd v. Land, 97 Ky. 379, 30 S.W. 1019, 1020 (1895). In
applying the law, courts must “look first to the language of the statute, giving the words their
plain and ordinary meaning.” Richardson v. Louisville/Jefferson Cty. Metro Gov't, 260 S.W.3d
777, 779 (Ky. 2008). Where intent is suggested that is contrary to the language of the statute,
“legislative intent is at best a nebulous will-o’-the-wisp.” Gateway Const. Co. v. Wallbaum, 356
S.W.2d 247, 249 (Ky. 1962).

Defendants, however, contend that Delta-8 is nonetheless prohibited as a controlled
substance. For this, they point to a chart on the DEA’s Website and to guidance by the CDC.
Executive agencies may promulgate regulations but only within the scope of the statute enabling
their existence. Otherwise, an agency has no constitutional authority to enact law.
Administrative agencies are creatures of statute. Consequently, they may not promulgate rules
that contradict statute. As explained by the United States Supreme Court in Dixon v. United
States:

The power of an administrative officer or board to administer a federal statute
and to prescribe rules and regulations to that end is not the power to make
law * * * but the power to adopt regulations to carry into effect the will of
Congress as expressed by the statute. A regulation which does not do this, but

operates to create a rule out of harmony with the statute, is a mere nullity.

Dixon v. United States, 381 U.S. 68, 74 (U.S. 1965), internal quotes and citations omitted.

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The same was also explained by Kentucky’s (formerly) highest court concerning the

limits on the authority of government agencies and boards (in a case involving the Kentucky

Alcoholic Beverage Control Board):

True, the Legislature . . . vested the Board with certain regulatory and
administrative powers, but this does not give the Board authority to adopt
regulations extending beyond the scope of the statute which it attempts to
administer. .. . [A] public administrative board ‘may not, by its rules and
regulations, amend, alter, enlarge, or limit the terms of a legislative
enactment.’

Roppel v. Shearer, 321 S.W.2d 36, 39 (Ky. 1959), internal citations omitted. Roppel has never

been overruled.

Moreover, as Plaintiffs point out, the DEA’s chart reference to Delta-8 does not coincide

with the regulations promulgated and published in the Federal Register at 21 CFR

1308.11(31)(ii). If agencies may not promulgate regulations beyond statutory authority, much

less may they do so by explanatory statements or charts on a Website. Plaintiffs have

demonstrated a substantial question on the merits.

B. Irreparable Harm

Plaintiffs contend that government actions that are contrary to its duly enacted law

constitute irreparable harm. For this, they point primarily to Boone Creek Props., LLC v.

Lexington/Fayette Urban County Bd. of Adjustment, 442 S.W.3d 36, 40 (Ky. 2014), and quote, in

part, the following:

For a representative government that draws its authority from the respect,
good will, and consent of the people, rather than by the force of its armed
police and military, the ability to promptly eliminate ongoing violations of
laws enacted by the people's representatives is essential to the ability to
govern and maintain order in the community.

Defendant Quarles, however, challenges the applicability of Boone Creek because it

involved injunctive relief in favor of a governmental unit. According to Defendant Quarles, the

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proper rule is that, “when a government seeks to enforce the law, then an injunction against a
private citizen is warranted to protect the government's right to enforce its laws... 22 The
Court disagrees. In fact, this argument defies the very foundational principle on which our law is
based: “That . .. Governments are instituted among [the people], deriving their just powers from
the consent of the governed.” DECLARATION OF INDEPENDENCE, {| 2.
Tuming to the arguments concerning delay, Commissioner Burnett contends the timeline
alone defeats Plaintiffs’ motion because they cannot show the injury to be “immediate.” A
party’s delay may very well undermine their claims of immediacy. By this, it appears
Defendant’s criticism is that Plaintiffs did not file suit immediately upon receipt of the Kentucky
Department of Agriculture’s April 19, 2021 letter. That would be a curious position, however,
given the arguments presented in this case that Plaintiffs have not alleged sufficient threat of
injury. Plaintiffs explain that they chose not to bring their challenge unless enforcement action
ensued, and that they elected to serve all parties and await appearances of counsel before moving
for injunctive relief. For this they cannot be faulted, especially with regard to the latter.

It remains true, however, that the most significant delay in this case is not attributable to

the timing of Plaintiffs’ action, but to the briefing deadlines agreed to by the parties and to the

22 Commissioner Quarles’ Resp., p. 13, emphasis original.

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scheduling limitations of this Court.7> The Court does not agree that injunctive relief may be
denied on the mere basis of delay. Moreover, here the claims of irreparable harm involve
government action. Thus, delay is not as determinative because the alleged harm might be of a
continuing nature.

As to Defendants’ arguments that Plaintiffs’ claims are merely monetary and, therefore,
cannot be deemed irreparable, the Court disagrees. First, there is also the foregoing
consideration concerning a citizen’s ability to obtain redress. Second, as Plaintiffs point out,
Defendants are shielded from having to pay Plaintiffs any damages for monetary losses.
“[C]Jomplying with a regulation later held invalid almost always produces the irreparable harm of
nonrecoverable compliance costs.” Thunder Basin Coal Co. v. Reich, 510 U.S. 200, 220-21

(1994) (Scalia, J., concurring in part and concurring in the judgment); see, e.g., Ohio Oil Co. v.

Conway, 279 U.S. 813, 814 (1929) (holding that a company would suffer an irreparable injury

23 From March 2020 to June 2021, and nearly all months in between, jury trials were prohibited in the courts of
Kentucky. When this case was filed in July 2021, this Court had a backlog of cancelled jury trials that had to be
reset, many of which involved persons who were being held in custody pending trial. It was during this period the
Court attempted to schedule the evidentiary hearing in this matter for September 2021 which, as counsel are aware,
the Court had no choice but to cancel. Given matters then pending, the earliest date available on the Court’s
calendar was for December 16, on which the hearing occurred. And, aside from scheduling issues concerning the
hearing date, this matter has been under submission for over sixty days—a circumstance concerning which also
invites explanation. In addition, the circumstances of the past two years have caused other bottlenecks aside from
the backlog on trials. During the past two years, significant court resources have had to be expended for matters that
heretofore were never in issue. Matters that previously required no expense of time became monumental tasks. For
example, trying to arrange hearings for persons in custody on warrants in the various detention centers became a
monumental task. Frequently, detention centers stated they could not accommodate remote hearings or virtual
access. And aside from hearings, often counsel would seek relief from the Court for clients in custody who, due to
varying protocols issued by varying persons or agencies, were being denied private meetings with their counsel.
Significant Court time had to be spent in trying to alleviate those circumstances by employing various means,
including, where all else failed, the issuance of transport orders to accommodate meetings at the Courthouse. There
were even instances where detention centers refused to honor a transport order when deputies arrived. Scheduling
remote hearings among the various detention centers to coordinate with the calendars of all concerned also required
substantial time. And conducting the remote hearings (especially in the first year of the lockdown) proved a great
expenditure of time. There were constant problems with bandwidth where the screen would freeze, or audio would
drop, and even when the Court’s system was functioning, a party or counsel’s connection would drop and
arrangements then had to be made for telephonic participation, or for rescheduling; or there would be a
synchronization problem with the judicial audio-video recording system that threatened the record. It required far
more time to do less work. Affording due process became a herculean (if not impossible) task. Thus, the timeline in
this case should not be taken as a judgment by the Court that it lacks importance. The Court’s submit table has
grown heavy with cases, each having issues gravely important to all the parties concerned, and each crying out to be
heard.

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from paying allegedly unconstitutional tax because state law provided “no remedy whereby
restitution of the money so paid may be enforced”). See Sampson v. Murray, 415 US. 61, 90
(U.S. 1974), explaining that “[t]he possibility that adequate compensatory or other corrective
relief will be available at a later date, in the ordinary course of litigation, weighs heavily against
a claim of irreparable harm.” The converse reasoning, therefore, would also hold true.

Additionally, non-compliance here entails not mere monetary fines and costs but the
prospect of criminal charges. The April 19, 2021 letter has been presented as the grounds for
establishing the illegality of Delta-8 in the issuance of search warrants. Indeed, at the hearing
Plaintiffs presented evidence showing where persons in Kentucky have been criminally charged
for possessing Delta-8.7* “To punish a person because he has done what the law plainly allows
him to do is a due process violation ‘of the most basic sort.’” U. S. v. Goodwin, 457 U.S. 368,
372 (1982). Irreparable harm is sufficiently demonstrated where it is shown there is potential for
the “abrogation of a concrete personal right,” and where such rights are threatened with
immediate impairment. Maupin v. Stansbury, 575 S.W.2d 695, 698 (Ky. 1978).

Commissioner Quarles’ argument that, because Plaintiffs can challenge Delta-8
enforcement when or if they are charged criminally is likewise without merit. Nor must
Plaintiffs be forced to defy the Commissioner in order to challenge his Delta-8 declaration in an
administrative hearing following license revocation See Roppel v. Shearer, 321 S.W.2d 36, 39
(Ky. 1959).

For all the foregoing reasons, the Court finds that Plaintiffs have made an adequate

showing of irreparable harm.

24 See Plaintiffs’ Hearing Exh. 7 and 8.
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C. Balance of Equities

As part of balancing the equities between the public interest and the respective parties,
courts are to consider “whether the injunction will merely preserve the status quo.” Rogers v.
Lexington-Fayette Urban County Government, 175 S.W.3d 569, 571 (Ky. 2005). On Plaintiff's
side, the status quo would be to merely recognize the existing statutory definition of hemp, and
the corresponding application of the statutory exemption of hemp. On Defendants’ side, the
status quo would be to allow criminal enforcement, or license revocation, on the grounds
declared in the April 19, 2021 letter by the Kentucky Department of Agriculture despite it being
contrary to the statutory exemption.

Defendants both argue the equities weigh against injunctive relief. According to
Commissioner Burnett, equity favors denying the injunction because “the public has an interest
in the enforcement and application of Kentucky criminal statutes by state law enforcement.”
And Commissioner Quarles contends that ‘“Delta-8 THC is potentially dangerous to a user’s
health, and is not approved for human consumption by the U.S. Food and Drug Administration,”
and that, although “Delta-8 THC is largely unregulated by federal and Kentucky law, . . . a court
order prospectively blessing the sale of unregulated, untested, and psychoactive drugs to the
public, including children, is not in the public interest.””°

At the hearing, Defendants presented a witness who testified to adverse effects she
experienced from taking two doses of a product containing Delta-8 within a period of 30 to 45

minutes. Defendants also presented testimony concerning the adverse effects Delta-8 can

produce in small children, especially if taken in substantial quantities. Defendants’ further

25 Commissioner Burmett’s Reply (deemed his Response), p. 6, fn. 2.
26 Commissioner Quarles’ Resp., pp. 15-16.

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presented evidence of health care practitioners indicating that, despite warnings on packaging,
there have been instances where children have obtained products containing Delta-8.

It is clear from the testimony presented that the agents and officers who testified have the
best of intentions. But there are many harmful things offered to the public that may injure them
physically, mentally, or morally. Regardless of that fact, however, no agency or officer can
prohibit possession or distribution without legislative enactment. There is a reason our system
does not allow those charged with enforcing the law to also make the law.

In Roppel y. Shearer, Kentucky’s then highest court considered a very similar argument
to the equity arguments presented by Defendants. There, the Kentucky Alcohol Control Board
promulgated a regulation declaring it to be illegal for licensed retailers of malt beverages to
either take orders for alcoholic beverages over the telephone or to deliver said beverages beyond
the premises of the licensee. The underlying statute provided that alcohol sales must be “from
the licensed premises only,” not “at the license premises only.” The Board argued this was
sufficient to enable it to impose the regulation. The Board further argued the regulation was
necessary to prevent retailers from selling alcohol to minors. The retailer sought a temporary
and permanent injunction against the Board. In resolving the issue, Kentucky’s then highest
court held:

This may be a moral and laudable purpose by the Board, but the statute
cannot be construed as limiting sales by a retailer in any such manner... .
the Board broadened the statutes and included therein matters not written into
the statutes by the Legislature. The Board cannot substitute its judgment
for that of the Legislature but must accept the law as enacted by that
body. It is elementary that the Legislature cannot delegate its functions to
others. ... Whenever the Board adopted regulations which conflicted
with the statute, this court has consistently refused to sustain the

regulations.

Roppel v. Shearer, 32 S.W.2d 36, 39 (Ky. 1959) (emphasis added; internal citations omitted).

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As this Court already stated, it agrees with Defendants that it is not the province of the

courts to establish policy. But neither is it the province of governmental agencies to contravene

the enactments of the legislative branch. Among the problems with Defendants’ reasoning is it

would do so, resulting in placing administrative agencies over the legislative branch that created

them. And in no circumstance can that be said to serve equity.

THEREFORE, IT IS HEREBY ORDERED AND ADJUDGED that Plaintiffs’

Motion for Temporary Injunction is GRANTED as follows:

1.

Entered

That Defendant, Hon. Ryan Quarles, in his official capacity as Commissioner of the
Kentucky Department of Agriculture, as well as its officers and agents are, during the
pendency of this case, ENJOINED from instituting or continuing any license
revocation or other adverse action against licensees on the basis of legally compliant
Hemp (the plant Cannabis sativa L. with a delta-9 tetrahydrocannabinol concentration
of not more than 0.3 percent on a dry weight basis), as well as any part of that plant
that is compliant (that has a delta-9 tetrahydrocannabinol concentration of not more
than 0.3 percent on a dry weight basis), including the seeds thereof and all
derivatives, extracts, cannabinoids, isomers, acids, salts, and salts of isomers, whether
growing or not, provided none of those materials have a delta-9 tetrahydrocannabinol
concentration of not more than 0.3 percent on a dry weight basis; this includes any
products that contain delta-8 tetrahydrocannabinol unless it contains more than 0.3
percent delta-9 tetrahydrocannabinol concentration of not more than 0.3 percent on a
dry weight basis.

That Defendant Colonel Phillip Burnett, Jr., in his official capacity as Commissioner
of the Kentucky State Police, as well as its officers, agents, and other persons in
active concert or participation with them who receive actual notice of this Order by
personal service or otherwise are, during the pendency of this case, ENJOINED from
instituting or continuing any criminal enforcement action on the basis of legally
compliant Hemp (the plant Cannabis sativa L. with a delta-9 tetrahydrocannabinol
concentration of not more than 0.3 percent on a dry weight basis), as well as any part
of that plant that is compliant (that has a delta-9 tetrahydrocannabinol concentration
of not more than 0.3 percent on a dry weight basis), including the seeds thereof and
all derivatives, extracts, cannabinoids, isomers, acids, salts, and salts of isomers,
whether growing or not, provided none of those materials have a delta-9
tetrahydrocannabinol concentration of not more than 0.3 percent on a dry weight
basis; this includes any products that contain delta-8 tetrahydrocannabinol unless it
contains more than 0.3 percent delta-9 tetrahydrocannabinol concentration of not
more than 0.3 percent on a dry weight basis.

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IT IS FURTHER HEREBY ORDERED AND ADJUDGED that Pursuant to C.R.
65.05(1), the Court finds it in the public interest to waive the bond requirement.

IT IS SO ORDERED.

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JUDGE RICHARD A. BRUEGGEMANN
BOONE CIRCUIT COURT

CC: ALL COUNSEL AND PARTIES OF RECORD.

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